
PEíTKiKGTOír, J.
This record is full of errors. The action is brought below, by Horner against Cowperthwait. As a state of demand he files a copy of [623] a note given by the defendant to one William Warrington. On the bottom of this copy are these words, “ indorsed Mary War*418rington, Isaac Graham.” It is stated in the summons, that Mary Warrington and Isaac Graham are administrators of William Warrington; and by this obscure, indirect way, it is possible to come at the meaning of the plaintiff. I think that a copy of a note is an improper state of demand in any case, even between the original parties. But in this case, the action is brought by the assignee of the administrators of the payee, and a copy of the note delivered the justice as the state of demand. The proceedings appear to me too loose.; but even if this could be got over, other errors press themselves upon [*] the court. The judgment was rendered in the absence of the defendant, and without evidence or trial; there was an adjournment; on the day the cause was adjourned to, the justice makes the following entry on his record: — “Plaintiff appeared, defendant failed to appear; I gave judgment for the plaintiff,” &amp;c. There was in fact a judgment without trial. I am for a reversal.
Tucker, attorney for plaintiff.
Kirkpatrick, C. J.
There can be no pretense for maintaining this judgment.
Rossell, J.
I agree to the reversal; there was no evidence to support the action.
Judgment reversed.
